Case 1:20-cv-02834-FB-VMS Document 48 Filed 09/22/23 Page 1 of 1 PageID #: 553
                                                                   U.S. Department of Justice
                                                                   Civil Division, Federal Programs Branch
                                                                   950 Pennsylvania Ave., NW
                                                                   Washington, DC 20530



By ECF                                                                                 September 22, 2023
The Honorable Frederic Block
United States District Judge
United States District Court
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 10007

        Re:      Tanya Asapansa-Johnson Walker, et al. v. Xavier Becerra, et al, No. 20-cv-02834 (FB) (VMS)

Dear Judge Block:
         On behalf of the parties to this Action, undersigned counsel respectfully submit this status report
letter as to the progress of the United States Department of Health and Human Services’s (“HHS”)
rulemaking proceedings implementing Section 1557 of the Affordable Care Act. Agency rulemaking
proceedings remain ongoing. HHS Office for Civil Rights is considering public comments on a proposed
regulation implementing Section 1557 that was published in the Federal Register on August 4, 2022,
Nondiscrimination in Health Programs and Activities, 87 Fed. Reg. 47,824 (Aug 4, 2022).

         It is difficult for HHS to predict with accuracy the time period for finalizing the rule given the
multiple levels of intra and inter-agency review required, as well as the potential for unforeseen
circumstances to interfere with the agency’s plans. Nonetheless, HHS aspires to submit the rule to the
Office of Information and Regulatory Affairs for final clearance before the end of this calendar year and
to issue a final rule no later than this forthcoming winter.

                                                             Respectfully submitted,

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